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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11   EAST BAY SANCTUARY COVENANT, et al.,       Case No. 3:18-cv-06810-JST
12                               Plaintiffs,    AGREED MOTION OF TWENTY-
                                                THREE ORGANIZATIONS
13                        v.                    REPRESENTING ASYLUM SEEKERS
                                                FOR LEAVE TO FILE AN AMICUS
14   DONALD TRUMP, et al.,                      CURIAE BRIEF
15                               Defendants.    Judge: Hon. Jon S. Tigar
                                                Courtroom: 9, 19th Floor
16                                              Hearing Date: December 19, 2018
                                                Hearing Time: 9:30 a.m.
17                                              Date Action Filed: November 9, 2018
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 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2            PLEASE TAKE NOTICE THAT the twenty-three organizations listed below, pursuant to

 3   Local Rule 7-1, respectfully request expedited leave to file a brief as amici curiae in the above-

 4   captioned case in support of Plaintiffs’ request for a Preliminary Injunction. A copy of the

 5   proposed amicus brief is attached as Exhibit A to this motion. Counsel for the parties have

 6   consented to this filing. Consistent with the Court’s Scheduling Order issued on November 27,

 7   2018, ECF No. 50 at 1–2, Amici have coordinated with counsel for Plaintiffs and with other

 8   known amicus groups to avoid making duplicative arguments.

 9              I.   LEGAL STANDARD.

10            No specific rules govern leave to file an amicus brief; rather, district courts have “broad

11   discretion” to determine when such leave is appropriate. Hoptowit v. Ray, 682 F.2d 1237, 1260

12   (9th Cir. 1982), abrogated on other grounds by Sandin v. Conner, 515 U.S. 472 (1995). As such,

13   “[d]istrict courts frequently welcome amicus briefs from non-parties concerning legal issues that

14   have potential ramifications beyond the parties directly involved or if the amicus has ‘unique

15   information or perspective that can help the court beyond the help that the lawyers for the parties

16   are able to provide.’” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d 1061,

17   1067 (N.D. Cal. 2005) (citation omitted). Here, “amici fulfill the classic role of amicus curiae . . .

18   in a case of general public interest [by] . . . supplementing the efforts of counsel[] and drawing the

19   court’s attention to law [and facts] that might otherwise escape consideration.” Funbus Sys., Inc.

20   v. State of Cal. Pub. Utilities Comm’n., 801 F.2d 1120, 1125 (9th Cir. 1986) (citation omitted).

21             II.   STATEMENT OF IDENTITY AND INTEREST OF AMICI CURIAE.

22            Amici are twenty-three non-profit organizations dedicated to ensuring the equitable

23   treatment of immigrants and asylum seekers. A brief description of each amicus proceeds below.

24            Asian Law Alliance: The Asian Law Alliance (“ALA”), founded in 1977, is a non-profit

25   public interest legal organization with the mission of providing equal access to the justice system

26   to the Asian and Pacific Islander communities in Santa Clara County, California. ALA has

27   provided immigration legal services and legal representation to asylum applicants for the past 41

28   years.

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 1          Bet Tzedek: For nearly forty-five years, Bet Tzedek, Hebrew for “House of Justice,” has

 2   provided free legal services and counsel in a comprehensive range of practice areas. Today, Bet

 3   Tzedek represents unaccompanied immigrant children who qualify for asylum, Special Immigrant

 4   Juvenile Status, and other forms of relief.

 5          CASA: CASA is the largest membership-based immigrant rights organization in the mid-

 6   Atlantic region, with more than 90,000 members. CASA provides a wide variety of services to

 7   immigrant communities in Maryland, as well as the greater Washington, D.C. metropolitan area,

 8   Virginia and Pennsylvania. As part of its legal services program, CASA provides regular

 9   consultations to immigrant community members, including many who are recent arrivals to the

10   United States, a significant portion of whom seek advice regarding potential asylum claims.

11          Central American Refugee Center: Central American Refugee Center (“CARECEN-

12   NY”) is a New York legal organization that has provided asylum representation to refugees since

13   1983. CARECEN-NY currently represents more than 150 asylum seekers, nearly all of whom

14   arrived in the United States at the U.S.-Mexico Border. CARECEN-NY expects to provide

15   assistance to as many as 300 additional asylum seekers over the next two years.

16          City Bar Justice Center: The City Bar Justice Center (“CBJC”) is the non-profit, legal

17   services arm of the New York City Bar Association. The CBJC assists more than 20,000 low-

18   income New Yorkers to access critically needed legal services and matches over 1,800 cases with

19   pro bono attorneys. The CBJC’s Immigrant Justice Project annually helps hundreds of immigrants

20   who are at their most vulnerable, including asylum seekers fleeing persecution who have crossed

21   the Southern border.

22          Dolores Street Community Services: Dolores Street Community Services (“Dolores

23   Street”) nurtures individual wellness and cultivates collective power among low-income and

24   immigrant communities. Dolores Street’s Deportation Defense and Legal Advocacy Program

25   provides pro bono representation to indigent and particularly vulnerable immigrant communities,

26   including many asylum seekers.

27          Empire Justice Center: The Empire Justice Center is a not-for-profit law firm with

28   offices in Rochester, Albany, White Plains, Yonkers, and Central Islip, New York. It operates as a

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 1   statewide support center for legal services programs and community organizations, providing

 2   technical assistance and training in the substantive law areas that have the most impact on low-

 3   income communities, including immigration. The Empire Justice Center also provides direct

 4   representation to low-income individuals, including in immigration matters and specifically to

 5   asylum seekers. Many of Empire Justice’s asylum clients have entered the United States without

 6   authorization in flight from life-threatening persecution.

 7          Her Justice: Her Justice is a nonprofit organization that provides free legal help to women

 8   living in poverty in New York City. Among its many services, Her Justice provides free legal

 9   help to immigrant women who have experienced domestic violence or other types of gender-based

10   violence, including advising women about their rights and options for applying for lawful status in

11   the United States. Many of Her Justice’s clients will be negatively affected by the Rule and

12   Proclamation.

13          HIAS and Council Migration Services, Inc. of Philadelphia: HIAS and Council

14   Migration Services, Inc. of Philadelphia d/b/a HIAS Pennsylvania (“HIAS Pennsylvania”) is a

15   non-profit 501(c)(3) organization that was founded in 1882 to assist Jewish immigrants fleeing

16   persecution in Europe. Today it provides legal and supportive services to immigrants, refugees

17   and asylum seekers from all backgrounds in order to assure their fair treatment and full integration

18   into American society.

19          Immigrant Justice Corps: Immigrant Justice Corps (“IJC”) is the country’s first

20   immigration legal fellowship program. IJC Fellows regularly represent clients from countries

21   which are the target of the Proclamation and the Rule, including clients from Honduras, El

22   Salvador, and Guatemala. Through this representation, IJC Fellows have extensive knowledge of

23   the dire and violent circumstances that force individuals to flee their countries of origin to seek

24   asylum in the United States.

25          Immigrant Legal Resource Center: Founded in 1979, the Immigrant Legal Resource

26   Center (“ILRC”) is a national legal resource center that provides legal trainings, educational

27   materials, technical assistance, and advocacy to advance immigration law and immigrant rights.

28   ILRC is one of the foremost authorities in the country on immigration law. Our team responds to

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 1   approximately 7,500 annual requests for legal technical assistance from attorneys and other

 2   advocates throughout the United States on immigration law, including asylum law, and immigrant

 3   rights issues.

 4           International Refugee Assistance Project: The International Refugee Assistance Project

 5   (“IRAP”) is a legal advocacy organization for refugees and displaced people in need of a safe

 6   place to call home. IRAP works with clients to identify and navigate pathways to safety through

 7   free direct representation, policy advocacy, and litigation.

 8           LatinoJustice PRLDEF: LatinoJustice PRLDEF, formerly known as the Puerto Rican

 9   Legal Defense & Education Fund, is a national non-profit civil rights legal defense fund that has

10   advocated for and defended the constitutional rights of all Latinos to ensure their equal protection

11   under the law since 1972. LatinoJustice has engaged in and supported law reform litigation

12   challenging discriminatory policies and practices by governmental agencies and actors in a wide

13   range of areas, including immigrants’ rights.

14           Legal Aid Society of New York: The Legal Aid Society of New York (“LAS”) is the

15   nation’s oldest and largest program providing direct legal services to low-income families and

16   individuals. The Immigration Law Unit of LAS comprises a staff of over sixty who represent

17   immigrants at all stages of affirmative and defensive immigration proceedings. As part of its

18   asylum practice, LAS represents immigrants who presented their asylum claims at ports of entry,

19   or from within the country after lawful admission, or after entry without inspection.

20           Loyola Immigrant Justice Clinic: The Loyola Immigrant Justice Clinic (“LIJC”) is a

21   not-for-profit community-based collaboration of Loyola Law School, Loyola Marymount

22   University, Homeboy Industries Inc., and Dolores Mission Church. LIJC’s dual-pronged mission

23   is to advance the rights of the indigent immigrant population in Los Angeles through direct legal

24   services, education, and community empowerment, while teaching law students effective

25   immigrants’ rights lawyering skills in a real-world setting. LIJC represents a large number of

26   asylum-seeking unaccompanied minors, children and adults through its legal team, clinical law

27   students and pro bono case placement program.

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 1          Make the Road New York: Make the Road New York (“MRNY”) is a nonprofit,

 2   membership-based community organization that provides a full range of legal services to low-

 3   income immigrants, including providing assistance to individuals seeking asylum. MRNY has a

 4   membership of 23,000 low-income immigrant New Yorkers, and it works through vibrant

 5   community centers. MRNY is a leading nonprofit organization in New York State with

 6   relationships to practitioners, scholars, policymakers, and stakeholders on a city-, state-, and

 7   nation-wide basis.

 8          New York Immigration Coalition: The New York Immigration Coalition (“NYIC”)

 9   represents nearly 200 organizational members and partners working on behalf of immigrants

10   throughout New York State. The NYIC has taken a lead in coordinating legal services for

11   immigrants, including by providing low-cost immigration legal services.

12          Public Law Center: The Public Law Center (“PLC”) is a non-profit legal services

13   organization located in Santa Ana, California, serving low-income residents of Orange County,

14   California for over 35 years. Over the past year, PLC’s immigration program has directly served

15   over 1,600 individuals, including in the area of asylum. Over 40% of PLC’s asylum seeking

16   clients are from Central America.

17          Safe Passage Project: Safe Passage Project is a nonprofit immigration legal services

18   organization that provides free lawyers to 823 child refugees who are being deported. More than

19   2,000 other children living in the New York area are currently facing immigration court without a

20   lawyer. The Safe Passage Project’s mission is to get that number to zero.

21          The Legal Project: The Legal Project (“TLP”) is a private non-profit in Albany, NY that

22   provides legal representation and advice to undocumented individuals, including non-detained

23   asylum applicants. TLP has represented and continues to represent asylum seekers who have

24   crossed the southern border into the U.S. without inspection and outside of a port of entry. Since

25   June 2018, the Department of Homeland Security has been moving immigration detainees from

26   the southern border to the Albany County Jail and TLP has represented, and expects to represent

27   more of those individuals, in asylum cases.

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 1          Torture Abolition Survivors Support Coalition: The Torture Abolition Survivors

 2   Support Coalition (“TASSC International”) is a non-profit organization based in Washington,

 3   D.C. The mission of TASSC is to end the practice of torture wherever it occurs and support

 4   survivors as they empower themselves, their families and communities wherever they are. The

 5   Legal Services Program of TASSC, one of the four direct service programs, provides direct legal

 6   representation to asylum-seeking survivors who have fled torture and persecution in their countries

 7   of origin as well as facilitates pro bono legal representation for survivors.

 8          University of California, Irvine School of Law Immigrant Rights: The University of

 9   California, Irvine School of Law Immigrant Rights (“UCI IRC”) is a law school clinic providing

10   pro bono legal services to low-income immigrants and their families. Among the cases that the

11   Clinic handles are those of detained immigrants seeking asylum. Clinic students have met with

12   migrants, including those traveling on caravans, and heard their stories of persecution and harm.

13          UnLocal, Inc.: UnLocal, Inc. is a non-profit organization that provides direct immigration

14   legal representation, legal consultations, and community education to New York City’s

15   undocumented immigrant communities. UnLocal attorneys currently represent more than 200

16   asylum seekers, including families and youth, who entered the U.S. without inspection at the

17   southern border. The majority of these individuals are from Honduras, Guatemala, and El

18   Salvador.

19           III.   AMICI CURIAE’S EXPERTISE WILL BENEFIT THE COURT.

20          The instant dispute involves allegations that the Defendants violated the Administrative

21   Procedure Act (“APA”) and the Immigration and Nationality Act (“INA”) in an effort to

22   improperly restrict the availability of asylum to desperate immigrants congregating at the southern

23   border of the United States. Amici, organizations with extensive experience with the asylum

24   process and asylum seekers, possess a “perspective that can help the court” assess the validity of

25   Defendants’ asserted excuses for noncompliance with the APA and INA. NGV Gaming, Ltd.,

26   LLC, 355 F. Supp. 2d at 1067 (citation omitted).

27          For example, Defendants have argued that the requirements of the APA were excused by

28   the “good cause” exception codified in 5 U.S.C. § 553(b)(B), which allows non-compliance with

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 1   the APA where compliance would be “impracticable, unnecessary, or contrary to the public

 2   interest.” Specifically, Defendants claim that good cause exists for ignoring the requirements of

 3   the APA because there is currently a “surge” of immigrants that pose a risk of violent crime and

 4   terrorism. With their decades of experience working with immigrants and immigration law in

 5   multiple jurisdictions, localities, and sub-specialties, amici are able to provide evidence that the

 6   United States is not experiencing a historically large amount of migration; rather, immigration is

 7   decreasing. Amici can similarly provide data on the rates of criminal activity amongst immigrant

 8   populations that will show that there is no correlation between increases in immigration and crime

 9   rates.

10            Additionally, amici can explain how the public interest is best served by ensuring asylum

11   seekers are able to apply for asylum consistent with the provisions of the INA, without regard to

12   their method of entry into the United States. Amici can provide information concerning the dire

13   circumstances currently facing asylum seekers at the U.S.-Mexico border, and directly refute

14   Defendants’ disparaging and inaccurate statements concerning would-be asylum seekers.

15            IV.    CONCLUSION.

16            For the foregoing reasons, the amici respectfully request this Court’s leave to file the

17   attached proposed amicus curiae brief on December 5, 2018.

18

19   Dated: December 5, 2018                        Respectfully submitted,

20                                                  By:       /s/ Harrison “Buzz” Frahn
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